                         UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA
               Plaintiff,

       v.                                               Case No. 10-CR-31

CHIENG CHANG VANG
              Defendant.


                                  DECISION AND ORDER

       Defendant Chieng Chang Vang, sentenced to 162 months in prison on drug trafficking

charges, seeks a sentence modification pursuant to 18 U.S.C. § 3582(c)(2). That statute

allows the district court to reduce the prison term of a defendant sentenced based on a

guideline range subsequently lowered by the Sentencing Commission. Defendant relies on

guideline Amendment 782, which the Commission has designated for retroactive application,

see U.S.S.G. § 1B1.10(d), and which generally reduces offense levels in drug trafficking cases

by 2. The government opposes relief on both eligibility and discretionary grounds.

                                      I. BACKGROUND

       Defendant pleaded guilty to conspiracy to distribute more than 50 grams of

methamphetamine, ecstasy, and marijuana. The pre-sentence report (“PSR”) recommended

a base offense level of 38 under U.S.S.G. § 2D1.1(c), while defendant argued for a base level

of 34. Under the PSR’s figure, defendant’s final level was 39 (base level 38, plus 2 for firearm

possession, U.S.S.G. § 2D1.1(b)(1), plus 2 for role in the offense, U.S.S.G. § 3B1.2, and minus

3 for acceptance of responsibility, U.S.S.G. § 3E1.1), producing an imprisonment range of 262-

327 months. Under defendant’s proposal, the final level was 35 (34+2+2-3), producing a range



    Case 2:10-cr-00031-LA       Filed 11/02/15    Page 1 of 7     Document 421
of 168-210 months.

       At defendant’s April 20, 2011, sentencing hearing, I declined to resolve the objection to

the base offense level, instead imposing sentence based on the 18 U.S.C. § 3553(a) factors.

See United States v. Lopez, 634 F.3d 948, 954 (7th Cir. 2011) (citing United States v. Sanner,

565 F.3d 400, 406 (7th Cir. 2009); United States v. Abbas, 560 F.3d 660, 666-67 (7th Cir.

2009); United States v. Anderson, 517 F.3d 953, 965-66 (7th Cir. 2008)). As the government

indicated in its sentencing memorandum, conducting a lengthy hearing on the number of

ecstasy pills or the purity of the methamphetamine was not necessary or a productive use of

time given the parties’ recommendations (defendant recommended 10 years, the government

20). Even under defendant’s version, the drug weight was well in excess of that needed to

trigger the 10 years to life statutory range.

       In imposing sentence under § 3553(a), I noted that this prosecution arose out of the

government’s investigation into the drug trafficking activities of a gang called the Menace of

Destruction or “MOD.” The investigation, which included wiretaps on several phones, including

defendant’s, revealed that the gang operated in various states, including Minnesota and

Wisconsin, with defendant heading the Minnesota contingent and providing ecstasy and

methamphetamine to co-conspirators in Wisconsin and Minnesota. The parties disputed the

precise weight, but it was clear that defendant distributed a substantial amount, more than

30,000 ecstasy pills and 50 grams of methamphetamine. He also possessed and controlled

firearms in connection with the conspiracy.

       Defendant was 33 years old, with a serious prior record, although he still landed in

criminal history category I. In 1994, he was convicted of attempted murder and attempted

robbery in juvenile court in California and ordered confined for 9 years. The attempted murder

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    Case 2:10-cr-00031-LA        Filed 11/02/15     Page 2 of 7   Document 421
arose out of defendant’s involvement in a drive-by shooting, and the robbery involved him

barging into someone’s home, resulting in him being shot by the homeowner, leaving him

partially paralyzed from the waist down.

       Born in Laos, defendant came to the United States with his family as refugees.1 It

appeared that he had a decent childhood in California, yet he joined the MOD at age 12 or 13,

leading to his brushes with the law. After he completed his California sentence, defendant

moved to Minnesota, where he met his wife. They had two young children together, and his

wife remained supportive.

       As indicated, defendant suffered from partial paralysis, although he could walk with the

assistance of braces. He also suffered other effects of the shooting, including chronic pain, for

which he took medication. He admitted some past substance abuse, but he did not seem to

have a serious problem. After initially dropping out of high school, he later obtained his

diploma, then earned an associate’s degree and took additional college courses in business.

However, he did not have a work record, collecting SSI since 2002 due to his paralysis.

       Defendant requested the 10 year minimum sentence required by statute, but I found that

insufficient. Defendant occupied a leadership position in a drug trafficking organization that

moved a substantial amount of ecstasy and methamphetamine into numerous areas in

Wisconsin; he was also involved in the possession and movement of firearms, which created

further danger; and based on the cash seizures, it appeared that he profited significantly. The

notion that he simply made a poor decision in order to support his family depreciated the nature

and seriousness of his conduct. I also found defendant’s recommendation insufficient to


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       Defendant was subject to deportation based on the instant conviction, but the PSR
reported it was unlikely he would actually be removed due to his country of origin.

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    Case 2:10-cr-00031-LA       Filed 11/02/15     Page 3 of 7    Document 421
protect the public and deter. Although defendant fell in criminal history category I, he had a

serious prior record and served a substantial period of confinement previously, yet again broke

the law.

       I did note some mitigating circumstances, which supported a sentence below the

government’s recommendation. Defendant had strong family support, as set forth in the many

letters lodged with the court. His disability, while not impeding his ability to commit this crime,

would make prison harder for him than the typical defendant. I also took into account his

educational accomplishments, which provided reason to believe that he had options for

financial support other than crime.

       Under all the circumstances, I found a sentence of 162 months sufficient but not greater

than necessary to satisfy the purposes of sentencing. This sentence adequately accounted

for the serious nature of the crime, and the need to deter and protect the public, while

acknowledging the mitigating factors. In the statement of reasons, I specifically noted that the

sentence was based on § 3553(a) and would have been the same regardless of the guidelines.

                                        II. DISCUSSION

       The court may not under 18 U.S.C. § 3582(c)(2) reduce the sentence to less than the

minimum of the amended guideline range.2 See U.S.S.G. § 1B1.10(b)(2)(A). In the present

case, under the PSR’s drug weight, application of Amendment 782 produces a new range of

210-262 months, higher than the current sentence. Under defendant’s suggested weight, the

range would drop to 135-168 months, partially below the current sentence.

       The government argues that defendant is ineligible for a reduction because he was not


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      Substantial assistance cases are an exception, U.S.S.G. § 1B1.10(b)(2)(B), but
defendant did not receive a government motion in this case.

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    Case 2:10-cr-00031-LA        Filed 11/02/15     Page 4 of 7     Document 421
sentenced based on a guideline range subsequently lowered; instead, he was sentenced

based on the § 3553(a) factors. The government compares this to a situation in which the

defendant was sentenced to a mandatory minimum or as a career offender.                In those

situations, however, the amendment does not have the effect of lowering the defendant’s

applicable guideline range because of the operation of the other guideline or statutory

provision. U.S.S.G. § 1B1.10 cmt. n.1(A). The government cites no authority for finding a

defendant ineligible, when the amendment does lower the range, simply because the court

declined to follow the guidelines originally.

       The government contends that, even under defendant’s suggested drug weight, he is

ineligible for a reduction because his sentence of 162 months falls within the amended range

of 135-168 months. However, U.S.S.G. § 1B1.10(b)(2)(A) would under that scenario allow a

sentence as low as 135 months – “the minimum of the amended guideline range.” The

government correctly notes that, if I were to adopt the PSR’s drug weight, the amended range

would be 210-262 months and § 1B1.10(b)(2)(A) would block a reduction. The court may in

ruling on a § 3582(c)(2) motion make new findings as are necessary to determine the

defendant’s base offense level, so long as those findings are supported by the record and not

inconsistent with the findings made in the original sentencing determination. United States v.

Hall, 600 F.3d 872, 876 (7th Cir. 2010). However, in light of the government’s agreement at the

original sentencing that specific findings were unnecessary, and because I agree with the

government that a reduction should be denied even if defendant is eligible, I will assume,

arguendo, that defendant’s range has been lowered.

       In deciding whether to exercise its discretion to reduce a sentence under 18 U.S.C. §

§ 3582(c)(2), the court shall consider the 18 U.S.C. § 3553(a) factors, shall consider the nature

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    Case 2:10-cr-00031-LA        Filed 11/02/15     Page 5 of 7   Document 421
and seriousness of the danger to the community that may be posed by a reduction, and may

consider the post-sentencing conduct of the defendant. U.S.S.G. § 1B1.10 cmt. n.1(B).

Section 3553(a) directs the sentencing court to consider the nature and circumstances of the

offense, and the history and characteristics of the defendant; the kinds of sentences available;

the applicable sentencing guideline range; any pertinent policy statements issued by the

Sentencing Commission; the need to avoid unwarranted sentence disparities; and the need

to provide restitution to any victims of the offense. The statute requires the court to impose a

sentence that is sufficient, but not greater than necessary, to reflect the seriousness of the

offense, to promote respect for the law, and to provide just punishment for the offense; to

afford adequate deterrence to criminal conduct; to protect the public from further crimes of the

defendant; and to provide the defendant with needed correctional treatment.

       As discussed above, the instant offense was serious, involving a gang’s distribution of

various controlled substances in several states. Defendant occupied a leadership position in

the organization, directing the activities of others, controlling the possession and movement of

firearms, and obtaining significant profits.3 As also discussed above, although he fell in criminal

history category I, defendant’s record included prior attempted murder and attempted robbery

offenses. Despite serving a substantial period of confinement for these offenses, and despite

being shot during the attempted robbery, he was undeterred from returning to organized

criminal activity involving firearms.

       In his reply brief, defendant answers the government’s eligibility arguments, but he




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      For instance, agents seized more than $97,000 in cash from a safe deposit box
defendant owned.

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     Case 2:10-cr-00031-LA       Filed 11/02/15     Page 6 of 7     Document 421
makes no argument as to why the court should reduce his sentence.4 Nor does he present any

evidence of his post-sentencing conduct.

      On review of the entire record, I continue to find the 162 month sentence necessary to

satisfy the purposes of sentencing. This sentence is needed to reflect the seriousness of the

offense and defendant’s role in it, to protect the public from further crimes of the defendant,

and to deter defendant from additional offenses.

                                     III. CONCLUSION

      THEREFORE, IT IS ORDERED that defendant’s motion (R. 415) is DENIED.

      Dated at Milwaukee, Wisconsin, this 2nd day of November, 2015.

                                         /s Lynn Adelman
                                         LYNN ADELMAN
                                         District Judge




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        Defendant argues that the § 3553(a) factors are outside the scope of this proceeding,
but both 18 U.S.C. § 3582(c)(2) and U.S.S.G. § 1B1.10 cmt. n.1(B)(i) tell the court to consider
those factors.

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    Case 2:10-cr-00031-LA       Filed 11/02/15     Page 7 of 7   Document 421
